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8                             IN THE UNITED STATES DISTRICT COURT

9                            FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                  Respondent,                    No. CR S-02-0048 MCE DAD P

12          vs.

13   JAIME RIOS VIZCARRA,

14                  Movant.                        ORDER

15                                          /

16                  Movant is a federal prisoner proceeding pro se with this motion to vacate, set

17   aside, or correct his federal sentence pursuant to 28 U.S.C. § 2255. Judgment was entered on

18   September 8, 2010, and this matter is currently on appeal to the United States Court of Appeals

19   for the Ninth Circuit. On November 1, 2010, movant filed a request to proceed in forma pauperis

20   on appeal.

21                  Rule 24(a) of the Federal Rules of Appellate Procedure provides that a party to a

22   district court action who desires to appeal in forma pauperis on appeal must file a motion in the

23   district court which:

24                  (A) shows in the detail prescribed by Form 4 of the Appendix of
                    Forms the party’s inability to pay or to give security for fees and
25                  costs;

26                  (B) claims an entitlement to redress; and

                                                      1
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1                   (C) states the issues that the party intends to present on appeal.

2    Fed. R. App. P. 24(a)(2). Movant has attached the appropriate affidavit which demonstrates his

3    inability to pay or to give security for fees and costs. In his October 20, 2010 notice of appeal,

4    movant claimed entitlement to redress and described the issues he intended to present on appeal.

5    Movant has complied with the requirements of Fed. R. App. P. 24(a). Accordingly, his request

6    to proceed in forma pauperis on appeal will be granted.

7                   Good cause appearing, IT IS HEREBY ORDERED that movant’s November 1,

8    2010, request to proceed in forma pauperis on appeal is granted.

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      Dated: November 5, 2010
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                                                    ________________________________
11                                                  MORRISON C. ENGLAND, JR.
                                                    UNITED STATES DISTRICT JUDGE
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